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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


TIM PIERCE
2 Village Lane
Berlin, MA 01503

               Plaintiff,                              JURY TRIAL DEMANDED
       v.
                                                       CASE NO. 1:20-cv-00693
LIFEZETTE, INC.
1055 Thomas Jefferson Street, NW
Washington, DC 20007

               Defendant.



     COMPLAINT FOR COPYRIGHT INFRINGEMENT AND VIOLATIONS OF THE
                 DIGITAL MILLENNIUM COPYRIGHT ACT

       Plaintiff Tim Pierce (“Pierce”) brings this civil action for copyright infringement in

violation of the Copyright Act of 1976, as amended, 17 U.S.C. §§ 101 et seq., and violations of

the integrity of copyright management information under the Digital Millennium Copyright Act

of 1998, as codified in part at 17 U.S.C. § 1202. Defendant Lifezette, Inc. (“Lifezette”)

repeatedly copied Pierce’s photograph and displayed and distributed it on its website and

elsewhere, without permission and without attribution, knowingly distributing the photograph

with false, altered, and removed copyright management information. Pierce further states and

alleges as follows.

                                              PARTIES

1.     Pierce is a photographer and photojournalist who owns the copyrights in a multitude of

his photographs, which he licenses to online and print publications, including the photograph at

issue in this action. He is a citizen and resident of Berlin, Massachusetts.
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2.     Lifezette, incorporated in Delaware in October 2017, has a principal place of business at

1055 Thomas Jefferson Street NW, Washington, DC 20007. Lifezette is registered with the

Department of Consumer and Regulatory Affairs for the District of Columbia as a foreign

corporation, with a business address of 1702 Bell Tower, 10104-103 Avenue, Edmonton, Alberta

T5J 0H8, Canada. Lifezette owns, operates, and controls the website known as LifeZette, located

at the web address www.lifezette.com (the “Website”).

                                 JURISDICTION AND VENUE

3.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a) because the claims

arise under the federal copyright laws.

4.     This Court has personal jurisdiction over Lifezette pursuant to D.C. Code § 13-422 and

13-423(a) because it maintains a principal place of business in this District, maintains sufficient

systematic and continuous contacts with this District, or transacted business in this District from

which Pierce’s injuries arise. The exercise of personal jurisdiction is consistent with the United

States Constitution.

5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the

events that give rise to the claims occurred in this District, and under 28 U.S.C. § 1400(a)

because Lifezette or its agents reside or may be found in this District.

                        ALLEGATIONS COMMON TO ALL COUNTS

                                Pierce’s Copyrighted Photograph

6.     On November 2, 2012, Pierce photographed an Auburn, Massachusetts campaign rally

for Elizabeth Warren, four days before her election to the United States Senate. One of the rally

photographs, entitled Elizabeth Warren and Tim Murray, depicts Senator Warren holding a




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microphone, with then-Lieutenant Governor of Massachusetts Tim Murray behind her (the

“Photograph”).

7.      On November 3, 2012, Pierce uploaded the Photograph to the website Flickr, at

https://www.flickr.com/photos/qwrrty/8152000142/. A copy of the Photograph as it appears on

Flickr is attached as Exhibit A.

8.      Pierce is the author of the Photograph and has continuously owned all rights thereto,

including its copyright. The U.S. Copyright Office registered Pierce’s copyright in the

Photograph under Copyright Registration Number VA 2-059-052, effective November 28, 2016.

A copy of the Certificate of Registration is attached as Exhibit B.

                    The Creative Commons Attribution 2.0 Generic License

9.      At all material times, Pierce has made the Photograph available on Flickr under a

Creative Commons Attribution 2.0 Generic license (“CC BY 2.0 License”). On Flickr, the

Photograph is displayed immediately above and in close proximity to Pierce’s name, its title, and

a    prominent    statement   “Some    rights   reserved,”   highlighted   as   a   hyperlink    to

https://creativecommons.org/licenses/by/2.0/, which is a brief summary of the terms of the CC

BY 2.0 License. A copy of that summary is attached as Exhibit C. The summary prominently

specifies the licensed terms of use, including the statement (with boldface and underlining in

original):

        Attribution — You must give appropriate credit, provide a link to the license,
        and indicate if changes were made. You may do so in any reasonable manner,
        but not in any way that suggests the licensor endorses you or your use.

In that statement, the words “appropriate credit” are highlighted as a hyperlink to a pop-up

window. The text in the pop-up window states, in pertinent part, “If supplied, you must provide

the name of the creator and attribution parties, a copyright notice, a license notice, a disclaimer



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notice, and a link to the material.” A copy of the summary displaying the “appropriate credit”

pop-up window is attached as Exhibit D.

10.     That summary further includes the prominent statement: “This is a human-readable

summary of (and not a substitute for) the license.” That statement, in turn, includes a highlighted

hyperlink to https://creativecommons.org/licenses/by/2.0/legalcode, which is the CC BY 2.0

License in full. A copy of the full license is attached as Exhibit E.

11.     The CC BY 2.0 License grants licensees a worldwide, royalty-free, non-exclusive license

to reproduce, publicly display, and distribute copies of the licensed work (in this case, the

Photograph) in all media and formats, as Paragraph 3 of the license provides.

12.     Under the CC BY 2.0 License, that broad grant is expressly made subject to and limited

by certain restrictions. Paragraph 4(a) of the license requires a licensee to include a copy of the

license itself, or a Uniform Resource Identifier for the license, with every copy of the work

publicly displayed or distributed. Paragraph 4(a) of the license further requires that a licensee

“may not offer or impose any terms on the Work that alter or restrict the terms of this License or

the recipients’ exercise of the rights granted hereunder,” and “may not sublicense the Work.”

Paragraph 4(b) requires a licensee to give the original author (in this case, Pierce) credit,

reasonable to the medium or means utilized by the licensee, by conveying the author’s name and

the work’s title, if supplied (as Pierce did).

              Lifezette’s Unlicensed and Unattributed Uses of Pierce’s Photograph

13.     Without permission or authorization from Pierce, Lifezette repeatedly reproduced and

displayed copies of the Photograph on the Website and elsewhere without attribution.

14.     Lifezette published a copy of the Photograph on the Website in a video entitled

“Elizabeth Warren Releases Heritage DNA Results” (the “Video”), dated October 15, 2018, at



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https://www.lifezette.com/video/elizabeth-warren-releases-heritage-dna-results/. A copy of a

screenshot of that page displaying the Photograph as it appeared in the Video is attached as

Exhibit F.

15.    Lifezette has also reproduced and displayed the Photograph by displaying that Video in

connection with at least nine articles published on the Website:

       •     “Elizabeth Warren Takes DNA Test — See What Results Actually Reveal,”
             dated October 15, 2018, https://www.lifezette.com/2018/10/elizabeth-warren-
             takes-dna-test-see-what-results-reveal/ (Exhibit G);

       •     “Conservatives Lampoon Elizabeth Warren’s Embarrassing DNA Results,”
             dated October 15, 2018, https://www.lifezette.com/2018/10/conservatives-
             lampoon-elizabeth-warrens-embarrassing-dna-results/ (Exhibit H);

       •     “21 Headlines That Show Exactly Why Elizabeth Warren’s DNA Reveal Was
             Such       A        Disaster,”     dated       October         17,    2018,
             https://www.lifezette.com/2018/10/21-headlines-that-show-exactly-why-
             elizabeth-warrens-dna-reveal-was-such-a-disaster/ (Exhibit I);

       •     “Hollywood Celebs Throw Support Behind Elizabeth Warren’s Presidential
             Run,”            dated              December           31,           2018,
             https://www.lifezette.com/2018/12/hollywood-celebs-throw-support-behind-
             elizabeth-warren-presidential-run/ (Exhibit J);

       •     “Elizabeth Warren Wrote ‘American Indian’ on Her Texas State Bar
             Registration        Form,”         dated       February     6,       2019,
             https://www.lifezette.com/2019/02/elizabeth-warren-wrote-american-indian-
             on-her-texas-state-bar-registration-form/ (Exhibit K);

       •     “Conservatives in Hollywood Blast Elizabeth Warren for Her Native-
             American        Deception,”       dated       February         6,   2019,
             https://www.lifezette.com/2019/02/conservatives-in-hollywood-blast-
             elizabeth-warren-for-her-native-american-deception/ (Exhibit L);

       •     “Elizabeth Warren’s Problems Mean One Thing: She Can’t Beat Trump in
             2020,” dated February 7, 2019, https://www.lifezette.com/2019/02/warrens-
             problems-mean-one-big-thing-she-cant-beat-trump-in-2020/ (Exhibit M);

       •     “Defiant Elizabeth Warren Declares Candidacy for 2020, Goes After
             ‘Bigotry’    in   Oval   Office,”   dated   February   9,   2019,



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            https://www.lifezette.com/2019/02/defiant-elizabeth-warren-declares-
            candidacy-2020-goes-after-bigotry-oval-office/ (Exhibit N); and

       •    “Elizabeth Warren Says Reparations for Native-Americans Should Be ‘Part of
            the      Conversation’    Today,”      dated     February      23,      2019,
            https://www.lifezette.com/2019/02/elizabeth-warren-says-reparations-for-
            native-americans-should-be-part-of-the-conversation-today/ (Exhibit O).

16.    Independent of the Video, Lifezette reproduced and displayed a copy of the Photograph

on the Website at least three other times: above an article entitled “Elizabeth Warren, 2020

Presidential    Hopeful,     Is      Still    Worth        Millions,”   dated      February     5,      2019,

https://www.lifezette.com/2019/02/elizabeth-warren-2020-democrat-hopeful-is-still-worth-

millions/ (Exhibit P), above an article entitled “Warren Moves From Wanting Reparations to

Wanting    to   Cancel     Student     Debt    —      So    Who     Pays?,”     dated   April   22,     2019,

https://www.lifezette.com/2019/04/warren-moves-from-wanting-reparations-to-wanting-to-

cancel-student-debt-so-who-pays/ (Exhibit Q), and above an article entitled “Democrats on

Stage: ‘Not Everyone Is Sharing’ in Today’s Strong Economy,” dated June 26, 2019,

https://www.lifezette.com/2019/06/democrats-stage-not-everyone-sharing-todays-strong-

economy/ (Exhibit R).

17.    Lifezette also reproduced and displayed copies of the Photograph on Facebook when it

shared those articles through posts on Lifezette’s Facebook account at, respectively,

https://www.facebook.com/LifeZette/posts/935254676805959 (Exhibit S),

https://www.facebook.com/LifeZette/posts/987081974956562 (Exhibit T),

and https://www.facebook.com/LifeZette/posts/1035084540156305 (Exhibit U).                           Lifezette

caused hundreds of additional acts of infringement when other Facebook users shared its

infringing posts.




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18.    None of Lifezette’s sixteen uses of the Photograph itemized above complied with the CC

BY 2.0 License. Lifezette did not include Pierce’s name or the title of the Photograph, a link to

the license, or a copy of the license, on any of those web pages or in the Video.

19.    Each of those sixteen uses of the Photograph constitutes a willful copyright infringement

by Lifezette. Lifezette knew of Pierce’s copyright and the terms of use he makes available under

the CC BY 2.0 License, but chose to use the Photograph without complying with those terms.

20.    When Lifezette copied, displayed, and distributed the Photograph in connection with

each of its sixteen infringing uses, it intentionally removed information identifying Pierce, the

title of the Photograph, and the terms and conditions for its use. Lifezette’s removal was without

license or legal right, and with the knowledge or reasonable grounds to know that it would

enable, facilitate, or conceal its own acts of infringement and infringing acts by others.

21.    At all material times, Pierce has displayed the Photograph on Flickr along with his name,

the title of the Photograph, and a link to a Creative Commons website page where the CC BY 2.0

License sets forth the terms and conditions for use of the Photograph. When Lifezette copied,

displayed, and distributed the Photograph, it excluded that identifying information, the terms and

conditions for use, any Uniform Resource Identifier for the license, and any link thereto.

               Lifezette Falsely Asserts Copyright Ownership of the Photograph

22.    Along with the copies of the Photograph displayed on the Website, Lifezette provides

copyright management information falsely identifying itself as copyright owner.

23.    A copyright tag on the bottom of each Website page that displays the Photograph states,

“© 2014-2020 LifeZette. ALL RIGHTS RESERVED.”

24.    Further, the Website’s Terms of Use page, http://www.lifezette.com/our-terms/, available

through hyperlinks displayed alongside the copyright tag on the bottom of those Website pages,



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falsely claims ownership or licensed use of the Website including the Photograph. A copy of the

Website’s Terms of Use page is attached hereto as Exhibit V.

25.    The first sentence of the Terms of Use page (with boldface in original) states in full:

       The website located at www.LifeZette.com (the “Site”), collectively the
       “Services,” are copyrighted works belonging to LifeZette, Inc. (“LifeZette,”
       “us,” “our,” and “we”).

26.    The second paragraph of the Website’s Terms of Use page states in full:

       Except for photos clearly in the public domain or when our use is a fair use,
       LifeZette always seeks permission from copyright owners for photo use. We
       sometimes use photos when, despite our diligent and good faith efforts, we can’t
       reach the copyright owner. If you are concerned we have used a photo belonging
       to you without permission, please contact us at termsofuse@lifezette.com.

27.    Upon information and belief, Lifezette knows that the Photograph is not in the public

domain, and knows that none of its sixteen uses of the Photograph complies with the CC BY 2.0

License or constitutes fair use.

28.    Lifezette has known Pierce’s contact information at all material times. Lifezette did not

seek permission from Pierce for any of the sixteen uses of the Photograph itemized above.

Lifezette did not make a diligent or good faith effort to contact Pierce to seek permission for any

of those infringing uses.

29.    A copy of the Website’s Full Terms of Use Document (the “Document”), available at

https://www.lifezette.com/files/2015/05/LifeZette-Terms-of-Use.pdf, is       attached hereto as

Exhibit W. At all material times, the Document has been accessible through a hyperlink on the

Terms of Use page under the text, “View our Full Terms of Use Document.”

30.    The Document provides copyright management information that falsely identifies

Lifezette as the copyright owner of all of the Website’s contents, including the Photograph.




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31.     The Document sets forth terms and conditions that purport to bind the Website’s users.

The Document purports to impose more restrictive terms and conditions for the use of Website

content, including the Photograph, than Pierce set in the CC BY 2.0 License for the Photograph.

32.     The first sentence of the Document restates the first sentence of the Terms of Use page:

        The website located at www.LifeZette.com (the “Site”) collectively the
        “Services” are copyrighted works belonging to LifeZette, Inc. (“LifeZette”, “us”,
        “our”, and “we”).

33.     Paragraph 2.1 of the Document purports to grant to Website users a revocable license to

“view, download and print Content provided by LifeZette (‘LifeZette Content’)” subject to

certain specified conditions, including that users “may access and use the LifeZette Content

solely for personal, informational, non-commercial and internal purposes”; “may not modify or

alter the LifeZette Content”; and “may not copy or distribute any photos … in the LifeZette

Content apart from their accompanying text.” It further provides, “No mark, graphic, sound or

image from the Site may be copied or retransmitted unless expressly permitted by LifeZette.”

Paragraph 2.2 of that Document defines “Content” to include “any and all … photos.”

34.     The Photograph that Lifezette displays and provides on its Website is a copyrighted work

owned by Pierce, not “belonging to LifeZette, Inc.”

35.     Unlike Lifezette’s Document with its extensive limitations, the CC BY 2.0 License is

irrevocable and allows for free sharing and adaptation of the Photograph for any purpose

including commercial use, subject to the license’s few conditions, including the requirement of

attribution.

  Lifezette Willfully Infringed Pierce’s Copyright and Knowingly Violated 17 U.S.C. § 1202

36.     Lifezette’s full compliance with the CC BY 2.0 License would have been reasonably

practicable at all times material hereto.



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37.    The copyright in a work subject to the CC BY 2.0 License is infringed by use of the work

in a manner that is outside the scope of the license.

38.    Lifezette has used the Photograph in a manner that is outside the scope of the CC BY 2.0

License by distributing and displaying the Photograph without a copy of, or Uniform Resource

Identifier for, the license; without appropriate credits identifying Pierce and the title of the

Photograph; and with more restrictive terms and conditions for use than the CC BY 2.0 License

imposes.

39.    Lifezette is not a licensee under Pierce’s CC BY 2.0 License. Its use, reproduction,

display, and distribution of the Photograph without license or permission from Pierce or other

legal right is a violation of his exclusive rights to the Photograph under 17 U.S.C. § 106 and an

infringement of his copyright under 17 U.S.C. § 501(a).

40.    Lifezette’s stated practice is to “sometimes use photos” despite making no contact with

the copyright owner.

41.    Lifezette has willfully infringed Pierce’s copyright in the Photograph, both on its Website

and on Facebook.

42.    Lifezette profited from the infringements by avoiding the costs of complying with the CC

BY 2.0 License or a reasonable license fee. It further profited by displaying the Photograph with

hyperlinks to articles, driving online traffic from third-party sites such as Facebook to its

Website, where each article and video was surrounded by revenue-generating advertisements and

links to sponsored content on other third-party websites.

                                  STATEMENT OF CLAIMS

                                         COUNT ONE
                                     Copyright Infringement

43.    Pierce incorporates by reference all allegations contained in this Complaint.


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44.    Lifezette copied Pierce’s Photograph without his authorization.

45.    Lifezette displayed and distributed the Photograph on its Website and Facebook without

Pierce’s authorization, and caused its reproduction, display, and distribution on Facebook and

other websites, without Pierce’s authorization.

46.    Lifezette’s copyright infringement of the Photograph was willful.

47.    Pierce is entitled to his damages, costs, and attorney’s fees as a result of Lifezette’s

copyright infringement of the Photograph under 17 U.S.C. §§ 504 and 505.

                                        COUNT TWO
                     Violations of the Digital Millennium Copyright Act

48.    Pierce incorporates by reference all allegations contained in this Complaint.

49.    Pierce is the sole and exclusive owner of all rights, title, and interest in and to the

copyright in the Photograph, subject to licenses he has issued, including without limitation the

non-exclusive CC BY 2.0 License he has issued to the public to allow the free reproduction and

display of the Photograph with proper attribution.

50.    Pierce conveyed copyright management information with the Photograph as defined in 17

U.S.C. § 1202(c)(1)-(3), (6), including: the title and other information identifying the work; the

name of, and other identifying information about, the author of the work; the name of, and other

identifying information about, the copyright owner of the work; and the terms and conditions for

use of the work.

51.    For example, on his Flickr page for the Photograph, Pierce provided the Photograph’s

title “Elizabeth Warren at a campaign rally”; an identification of “Tim Pierce” as the copyright

owner and photographer of the work; and a declaration of “Some rights reserved,” highlighted as

a hyperlink to the CC BY 2.0 License summary, which summary includes a hyperlink to the full

CC BY 2.0 License and informs licensees:


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       Attribution — You must give appropriate credit, provide a link to the license,
       and indicate if changes were made. You may do so in any reasonable manner,
       but not in any way that suggests the licensor endorses you or your use.

52.    In violation of 17 U.S.C. § 1202(a), Lifezette knowingly, and with the intent to induce,

enable, facilitate, or conceal copyright infringement, has provided and has distributed copyright

management information for the Photograph that is false.

53.    In violation of 17 U.S.C. § 1202(b), Lifezette, without the authority of the copyright

owner Pierce or the law, intentionally removed or altered copyright management information for

the Photograph, knowing or having reasonable grounds to know that doing so would induce,

enable, facilitate, or conceal an infringement of a right under Title 17 of the United States Code.

54.    In violation of 17 U.S.C. § 1202(b), Lifezette, without the authority of Pierce or the law,

distributed copyright management information for the Photograph knowing that said copyright

management information had been removed or altered without the authority of Pierce or the law,

knowing or having reasonable grounds to know that doing so would induce, enable, facilitate, or

conceal an infringement of a right under Title 17 of the United States Code.

55.    In violation of 17 U.S.C. § 1202(b), Lifezette, without the authority of Pierce or the law,

distributed copies of the Photograph knowing that the copyright management information had

been removed or altered without the authority of Pierce or the law, knowing or having reasonable

grounds to know that doing so would induce, enable, facilitate, or conceal an infringement of a

right under Title 17 of the United States Code.

56.    Lifezette has violated 17 U.S.C. § 1202 by copying, distributing, and displaying the

Photograph in connection with at least ten uses of the Video and three articles on its own

Website, and at least three uses on Facebook. Lifezette has thereby committed at least sixteen

violations of 17 U.S.C. § 1202.



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57.    Pierce is injured by Lifezette’s falsification, removal, or alteration of his copyright

management information, which has induced, enabled, or facilitated further infringements of his

copyright by hundreds of Website users.

58.    Pierce is entitled to an award of his damages, costs, and reasonable attorney’s fees against

Lifezette under 17 U.S.C. §§ 1203(b)(3)-(5).

                                    RELIEF REQUESTED

WHEREFORE, Plaintiff seeks the following remedies:

1.     Enter judgment for Pierce against Lifezette on all counts;

2.     Grant a permanent injunction restraining Lifezette from any further unlicensed use of the

Photograph, pursuant to 17 U.S.C. §§ 502 and 1203(b)(1);

3.     Require Lifezette to pay Pierce the actual damages he has sustained as a result of its

infringements of the copyright in the Photograph, and all of Lifezette’s profits attributable to

those infringements, pursuant to 17 U.S.C. § 504(b);

4.     In the alternative, if Pierce so elects, require Lifezette to pay an award of statutory

damages to Pierce in a sum not less than $750 nor more than $30,000 for its infringements of the

copyright in the Photograph, as the Court considers just; or, if the Court finds that the

infringements were committed willfully, a sum up to and including $150,000, pursuant to 17

U.S.C. § 504(c);

5.     Require Lifezette to pay Pierce his full costs, including a reasonable attorney’s fee,

pursuant to 17 U.S.C. § 505;

6.     Require Lifezette to pay an award of statutory damages to Pierce for each of its violations

of 17 U.S.C. § 1202, in a sum not less than $2,500 nor more than $25,000 per violation, pursuant

to 17 U.S.C. §§ 1203(b)(3), 1203(c)(1)(B), and 1203(c)(3)(B);



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7.     Require Lifezette to pay Pierce his costs pursuant to 17 U.S.C. § 1203(b)(4);

8.     Require Lifezette to pay Pierce his reasonable attorney’s fees pursuant to 17 U.S.C. §

1203(b)(5);

9.     Award pre-judgment and post-judgment interest to Pierce; and

10.    Award such other relief as this Court deems just and proper.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury in this case on all issues so triable.



DATED: March 10, 2020                             Respectfully submitted,

                                                  /s/ J. Matthew Williams

                                                  J. Matthew Williams (D.C. Bar No. 501860)
                                                  Theresa B. Bowman (D.C. Bar No. 1012776)
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                                                  Attorneys for Plaintiff




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